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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 GERALD WRIGHT,

        Petitioner,

 v.                                                       CASE NO: 8:09-CV-1066-JSM-EAJ
                                                          Crim. Case No: 8:03-CR-343-T-30MSS
 UNITED STATES OF AMERICA,

       Respondent.
 ____________________________________/

                                          ORDER

        THIS CAUSE comes before the Court upon Petitioner’s pro se Motion to Vacate, Set

 Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (CV Dkt. #1) filed on June 8, 2009,

 Memorandum in support (CV Dkt. #5) filed on June 29, 2009, and the Government’s

 Response thereto (CV Dkt. #8) filed on November 9, 2009. The Court concludes that this

 motion is due to be dismissed without an evidentiary hearing because it plainly appears from

 the face of the motion and the prior criminal proceedings that the petition is time barred.

                                      BACKGROUND

        On November 21, 2003, a jury found petitioner, GERALD WRIGHT (hereinafter

 referred to as “Wright” or “Petitioner”), guilty as to Count One and Count Four of the

 Indictment (CR Dkt. #1): (1) Count One - conspiracy to possess with intent to distribute 50

 grams or more of cocaine base in violation of 21 U.S.C. §§ 846, 841(b)(1)(A)(iii) and (c) and

 (2) Count Four - possession with intent to distribute 50 grams or more of cocaine base, and
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 a quantity of cocaine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(iii), and (c).

        On February 13, 2004, Petitioner appeared for sentencing. The Court imposed a

 sentence of 360 months imprisonment and entered judgment (CR Dkt. #89). Petitioner was

 responsible for 205.6 kilograms of cocaine base during the course of the conspiracy as

 described in the presentence report (CR Dkt. #158), significantly more than 4.5 kilograms

 of cocaine base as required for the highest offense level of 38. Although the Petitioner was

 classified as a career offender pursuant to USSG § 4B1.1, Petitioner’s counsel conceded at

 the sentencing hearing that Wright’s guideline range was based upon the large amount of

 cocaine base involved and exceeded the career offender guidelines (CR Dkt. #207, Exhibit

 1 at 9-12).

        Wright filed a Notice of Appeal with the Eleventh Circuit on February 20, 2004 (CR

 Dkt. #90). After a thorough review of the record and Wright’s arguments, the Eleventh

 Circuit affirmed the judgment of the Court (CR Dkt. #163) on January 6, 2006. Petitioner

 failed to seek certiorari review of the Eleventh Circuit’s decision and the judgment against

 him became final on April 6, 2006.

        On August 25, 2008, the Court, acting on its own motion pursuant to 18 U.S.C. §

 3582(c)(2), directed counsel for the Petitioner to seek a reduction of the Petitioner’s original

 sentence (CR Dkt. #191). The Court considered the subsequent motion and ruled (CR Dkt.

 #207) that Petitioner was not eligible for sentencing reduction under 18 U.S.C. § 3582(c)(2)

 and Amendment 706 promulgated by the United States Sentencing Commission because of


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 the high amount of cocaine involved. Wright filed a Notice of Appeal, challenging the

 Court’s decision that Wright was not eligible for a sentencing reduction (CR Dkt. #208). The

 Eleventh Circuit affirmed the Court’s denial of Wright’s sentencing reduction (CR Dkt.

 #217).

          On June 8, 2009, Petitioner filed the instant motion (CV Dkt. #1) seeking relief on the

 grounds that there has been an intervening change in the law which makes his sentence

 illegal and that he received ineffective assistance of counsel in violation of his Sixth

 Amendment protections. Title 28 U.S.C. § 2255 provides, in pertinent part, that:

          A prisoner in custody under sentence of a court established by Act of Congress
          claiming the right to be released upon the ground that the sentence was
          imposed in violation of the Constitution or laws of the United States, or that
          the court was without jurisdiction to impose such sentence, or that the sentence
          was in excess of the maximum authorized by law, or is otherwise subject to
          collateral attack, may move the court which imposed the sentence to vacate,
          set aside, or otherwise correct the sentence.

 28 U.S.C. § 2255. On April 24, 1996, the President signed into law the Antiterrorism and

 Effective Death Penalty Act of 1996 (hereinafter referred to as “AEDPA”). This law added

 the following provisions to 28 U.S.C. § 2255:

          (f) A 1-year period of limitation shall apply to a motion under this section. The
          limitation period shall run from the latest of—

                 (1) the date on which the judgment of conviction becomes final;

                 (2) the date on which the impediment to making a motion created by
                 governmental action in violation of the Constitution or laws of the
                 United States is removed, if the movant was prevented from making a
                 motion by such governmental action.


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               (3) the date on which the right asserted was initially recognized by the
               Supreme Court, if that right has been newly recognized by the Supreme
               Court and made retroactively applicable to cases on collateral review;
               or

               (4) the date on which the facts supporting the claim or claims presented
               could have been discovered through exercise of due diligence.

 28 U.S.C. § 2255.

        After the Eleventh Circuit affirmed on January 6, 2006, Petitioner did not seek

 certiorari review. Thus, his judgment of conviction became final on April 6, 2006. See

 Kaufmann v. United States, 282 F.3d 1336, 1338 (11th Cir. 2002) (deciding that even when

 a petitioner does not petition for certiorari, his conviction does not become “final” for

 purposes of § 2255 until the expiration of the ninety-day period); Bond v. Moore, 309 F.3d

 770, 773-74 (11th Cir. 2002) (explaining that a judgment becomes final on the date on which

 the U.S. Supreme Court issues a decision on the merits of petitioner’s direct appeal or denies

 certiorari, or after the passage of the ninety days during which a petitioner could seek such

 review). As the Supreme Court noted in Dodd v. United States, 545 U.S. 353, 356-57 (2005),

 “[i]n most cases, the operative date from which the limitation period is measured will be the

 one in [§ 2255(f)(1)] . . . . But later filings are permitted where subparagraphs (2)-(4) apply.”

        In this case, Petitioner asserts that such a statutory exception to the operation of the

 one-year limitations period is applicable to him under § 2255(f)(3) and that the limitation

 period should be measured from “the date on which the right asserted was initially

 recognized by the Supreme Court.” 28 U.S.C. § 2255(f)(3). Petitioner argues that in


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 Cunningham v. California, 127 S. Court. 856 (2007) and Spears v. United States, 129 S.

 Court. 840 (2009) the Supreme Court recognized a new right that has been made

 retroactively applicable to cases on collateral review. Petitioner is mistaken.

        First, the Supreme Court recognized no new right in either Cunningham or Spears.

 The Eleventh Circuit’s explanation in Outler v. United States, 485 F.3d 1273, 1280 (11th Cir.

 2007), is instructive on the point: “[t]he meaning of ‘right asserted’ in the statute is the

 substantive right that forms the basis for the § 2255 motion.” Petitioner does not describe a

 new substantive right. Rather, Wright rests much of his ineffective assistance of counsel

 arguments on the belief that the development of the law from Apprendi v. New Jersey, 530

 U.S. 466 (2000) and Blakely v. Washington, 124 S. Court. 2531 (2004) to Cunningham and

 Spears represented a foreseeable progression in Sixth Amendment jurisprudence. The content

 of Petitioner’s own brief (CV Dkt. #5) belies any arguments that those recent cases

 articulated a new right. Rather than recognizing a new right, the Supreme Court in

 Cunningham and Spears “clarified the rule of constitutional law invoked by the petitioner.”

 (CV Dkt. #5 at 8). Second, neither opinion contemplated retroactive application on collateral

 review. Accordingly, Wright is not entitled to employ § 2255(f)(3) to escape the restriction

 of the period of limitations.

        Under the one-year period of limitations established by AEDPA, Wright’s petition

 deadline was April 6, 2007. The petition now before the Court was filed June 8, 2009, more

 than two years after the statutory deadline.


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                                  EQUITABLE TOLLING

        Typically, a motion not timely filed is dismissed. However, a petitioner is not time

 barred from filing if he is entitled to an equitable tolling of the one-year limitation period.

 In Sandvik v. United States, 177 F.3d 1269, 1271-72 (11th Cir. 1999) , the Eleventh Circuit

 held that an extension of time in which to file a § 2255 motion is warranted only if

 extraordinary circumstances beyond a prisoner’s control make it impossible to file the motion

 on time. The Eleventh Circuit in Drew v. Dep’t of Corr., 297 F.3d 1278, 1286 (11th Cir.

 2002) held that “[t]he burden of establishing entitlement to this extraordinary remedy plainly

 rests with the petitioner,” and further emphasized that “[e]quitable tolling is an extraordinary

 remedy and is applied sparingly.” The court noted that to merit equitable tolling, “[a] truly

 extreme case is required.” Holland v. Florida, 539 F.3d 1334, 1338 (11th Cir. 2008).

        Equitable tolling is available only if a petitioner establishes both extraordinary

 circumstances and due diligence. See Diaz v. Sec’y Dep’t of Corr., 362 F.3d 698, 702 (11th

 Cir. 2004). Petitioner’s claim fails to satisfy the first prong. A change in the law does not

 constitute an extraordinary circumstance. In the analogous setting of a petitioner seeking

 untimely Fed. R. Civ. P. 60(b)(6) relief from a final judgment, the Supreme Court addressed

 the effect of a change in law in Gonzalez v. Crosby, 545 U.S. 524, 537-38 (2005), reasoning

 that “[i]t is hardly extraordinary that subsequently, after petitioner’s case was no longer

 pending, this Court arrived at a different interpretation [than the District Court below

 reached].” Furthermore, Petitioner’s pro se status affords him little advantage as the Eleventh


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 Circuit has held that lack of familiarity with the judicial process will not justify equitable

 tolling. See, e.g., Rich v. Dep’t of Corr., 317 Fed. Appx. 881, 884 (11th Cir. 2008) (noting

 that pro se status is not an extraordinary circumstance); Helton v. Sec’y Dep’t of Corr., 259

 F.3d 1310 (11th Cir. 2001) (refusing to recognize an extraordinary circumstance when an

 incarcerated petitioner mistakenly believed the AEDPA period of limitations had not started

 to run).

        Even assuming that Wright’s circumstances were extraordinary, it is not apparent

 from Wright’s motion that he exercised due diligence before the one-year period ended. In

 affirming the dismissal of a § 2254 petition as time barred, the Eleventh Circuit evaluated the

 record for clear error and determined that petitioner’s inability to provide evidence of efforts

 to file before the limitations period expired was sufficient to conclude that the petitioner had

 not exercised due diligence that would justify equitable tolling. See Bell v. Sec’y Dep’t of

 Corr., 248 Fed. Appx. 101, 104-05 (11th Cir. 2007). Tellingly, the Petitioner in the instant

 case does not focus his efforts on describing his due diligence in the text of his petition, but

 instead relies primarily on a claimed intervening change in law. Yet equitable tolling is

 justified only when both prongs are satisfied and the Petitioner’s due diligence is thwarted

 by extraordinary circumstances. Therefore, Petitioner is not entitled to equitable tolling.

                     EVEN IF TIMELY, PETITION WOULD FAIL

        Even if the petition had been timely, it would still have failed on the merits. Although

 Wright offers four grounds that he claims entitle him to relief, Wright essentially states two.


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 Both Fifth Amendment grounds, offered as responses to question parts 12(C) and (D) in

 Wright’s § 2255 Motion (CV Dkt. #1), are actually restatements of his primary arguments

 focusing on a perceived intervening change in law and ineffective assistance of counsel.

 Because the line of cases leading to Spears does not recognize a new right within the

 meaning of § 2255, it is appropriate to focus on the ineffective assistance of counsel about

 which Petitioner complains.

        The Supreme Court in Strickland v. Washington, 466 U.S. 668 (1984) announced the

 now well known two-prong standard for evaluating an ineffectiveness claim. Under

 Strickland, the Petitioner must show that counsel’s performance fell below an objective

 standard of reasonable professional assistance and that the Petitioner was prejudiced by the

 deficient performance. Id. at 687-88. The Petitioner must bear the burden of proving that

 counsel’s performance was unreasonable. Id. at 688; see also Chandler v. United States, 218

 F.3d 1305, 1313-14 (11th Cir. 2000) (restating the proposition that the burden of persuasion

 rests with a petitioner to prove, by a preponderance of competent evidence, that counsel’s

 performance was unreasonable). Furthermore, the Petitioner must identify specific errors in

 order to overcome the strong presumption that counsel “rendered adequate assistance and

 made all significant decisions in the exercise of reasonable professional judgment.” 466 U.S.

 at 690. Finally, it is important to note that “there is no reason for a court deciding an

 ineffective assistance claim [...] to address both components of the inquiry if the defendant

 makes an insufficient showing on one.” 466 U.S. at 697.


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        In this case, Petitioner argues that “counsel should have been reasonably cognizant

 of the possible extensions of Blakely [sic], in light of the clear precedent of the Supreme

 Court.” (CV Dkt. #5 at 16). Petitioner goes on to argue that “[i]t was objectively

 unreasonable for counsel to abandoned [sic] the rehearing based upon the uncertainty and the

 future of the state of law, post Blakely [sic].” Id. However, in United States v. Ardley, 273

 F.3d 991, 993 (11th Cir. 2001), the Eleventh Circuit explicitly held the opposite: “[i]n this

 circuit, we have a wall of binding precedent that shuts out any contention that an attorney’s

 failure to anticipate a change in the law constitutes ineffective assistance of counsel.” Save

 one, the other supposed failures of counsel alleged by Wright stem from counsel’s reasonable

 professional decision not to pursue rehearing or seek certiorari review based on the supposed

 intervening change in law.

        The remaining error argued by Wright is that his counsel was ineffective for failing

 to challenge the sentencing enhancement because Wright is actually innocent. Actual

 innocence in this context means “factual innocence, not mere legal insufficiency.” Bousley

 v. United States, 523 U.S. 614, 623 (1998). Here, Petitioner apparently mistakes factual

 innocence for legal insufficiency. The Supreme Court clarified the matter by instructing that,

 in light of all of the evidence, a petitioner can establish actual innocence when he

 demonstrates that it is more likely than not that no reasonable juror would have convicted

 him. See id. Here, Petitioner does not challenge his underlying conviction, does not contend

 that he did not commit the offense, and does not contest the amount of cocaine base used to


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  enhance his sentence. Rather, Petitioner attacks the validity of the sentencing enhancement

  without stating a colorable claim of actual innocence. Counsel’s decision to refrain from

  assisting Wright in mounting an attack on such grounds was not objectively unreasonable.

            In addition, the decision on direct appeal made clear that the error at sentencing,

  whether attributed to the District Court or to Petitioner’s counsel, did not prejudice Wright.

  Applying plain error review, the Eleventh Circuit found that even though the District Court

  may have made an error for basing the sentence on a drug quantity not found by a jury, the

  error “did not affect Wright’s substantial rights,” because he did not show that the sentence

  would have been any less had the guidelines been advisory rather than mandatory. United

  States v. Wright, 164 Fed. Appx. 809, 818 (11th Cir. 2006).

            If, as Wright contends, counsel erred by not asserting certain arguments to challenge

  the enhanced sentencing range used by the Court and if the Eleventh Circuit held that the

  Court’s use of that enhanced sentencing range could not be shown to prejudice Wright, then

  the question of counsel’s error at sentencing is moot. Whether or not counsel challenged the

  enhanced sentence, Wright was not prejudiced by the result. Thus, in the instant petition as

  in Strickland, “[f]ailure to make the required showing of either deficient performance or

  sufficient prejudice defeats the ineffectiveness claim.” 466 U.S. at 700.

            Therefore, even if the petition had been filed timely, it would have failed on the

  merits.




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             It is therefore ORDERED AND ADJUDGED that:

             1.         Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

  U.S.C. §2255 (CV Dkt. #1) is DISMISSED as time barred.

             2.         The Clerk is directed to close this file and terminate from pending status the

  motion to vacate found at CR Dkt.#219, in the underlying criminal case, case number 8:03-

  cr-343-T-30MSS.

             DONE and ORDERED in Tampa, Florida on January 5, 2010.




  Copies furnished to:
  Counsel/Parties of Record
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